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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS

                                              )
MARIAN RYAN, et al.,                          )
                                              )
         Plaintiffs,                          )
                                              )
         v.                                   )         CASE NO. 1:19-CV-11003-IT
                                              )
U.S. CUSTOMS AND IMMIGRATION                  )
ENFORCEMENT, et al.,                          )
                                              )
         Defendants.                          )
                                             _)

                       JOINT STIPULATION AND [PROPOSED] ORDER
                           TO EXTEND CURERNT DEADLINES

         This stipulation is made by and between Plaintiffs Marian Ryan, Rachael Rollins, Committee

for Public Counsel Services, and the Chelsea Collaborative, Inc. (collectively, “Plaintiffs”) and

Defendants U.S. Immigration and Customs Enforcement, Tae Johnson, Todd M. Lyons, U.S.

Department of Homeland Security, and Alejandro Mayorkas (collectively, “Defendants,” and with

Plaintiffs, the “Parties”).

        On April 27, 2021, the Acting Director of U.S. Immigration and Customs Enforcement and the

Acting Commissioner of U.S. Customs and Border Protection issued a joint memorandum titled ,

“Civil Immigration Enforcement Actions in or near Courthouses.” Mem. from Acting Director

Johnson and Acting Commissioner Miller to U.S. Immigration and Customs Enforcement and U.S.

Customs and Border Protection, Civil Immigration Enforcement Actions in or Near Courthouses

(Apr.                                             27,                                       2021),

https://www.ice.gov/sites/default/files/documents/ciEnforcementActionsCourthouses.pdf.        That

memorandum “provides interim guidance that governs … civil immigration enforcement actions in

or near courthouses.” Id. It “supersedes and revokes ICE Directive 11072.1, entitled ‘Civil



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Immigration Enforcement Inside Courthouses,’ that was issued on January 30, 2018,” id., which is the

focus of this lawsuit.

      In light of this action, the parties request additional time to determine the effect of the new

interim guidance on this case and how the parties wish to proceed in this litigation. In particular, it

will be difficult for the parties to comprehensively evaluate the rescission and replacement of the prior

Directive and its effect on the litigation in time to provide a complete status report by May 10.

        For these reasons, the parties request that, in order to provide additional time for the parties

to determine the effect of the revocation of ICE Directive 11072.1 and its replacement with the

interim policy on this lawsuit, this Court continue the joint status report for 90 days, until August 9,

2021, and extend discovery by 90 days, to January 3, 2022. A continuance of the status report and an

extension of discovery will conserve judicial and the parties’ resources.

RESPECTFULLY SUBMITTED AND STIPULATED.


IT IS SO ORDERED.

Dated: ___________________________              _______________________________
                                                Honorable Indira Talwani
                                                United States District Judge


Stipulated to and respectfully submitted this 4th day of May, 2021.




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                                                              Respectfully submitted,

 FOR THE PLAINTIFFS                                           FOR THE DEFENDANTS

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                                      CERTIFICATE OF SERVICE

        I, Francesca Genova, hereby certify that a copy of the foregoing document, filed through the
CM/ECF system, will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies shall be served by first class mail postage prepaid on all
counsel who are not served through the CM/ECF system on May 4, 2021.

                                                                     Francesca Genova
                                                                     FRANCESCA GENOVA
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